 

USCA4 Appeal: ©3441517-dP@DRIGICCB Doladnent2ag201BiledAg@/2gy18 Page 1 of etal Pages:(3 of 4)

FILED: December 20, 2018

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CiRCUIT

 

No. 18-4415 (L)
(1:17-cr-00638-CCB-1)

 

UNITED STATES OF AMERICA
Plaintiff - Appellee
Vv.
| WAYNE EARL JENKINS

Defendant - Appellant

 

No. 18-4541
(1:17-cr-00106-CCB-4)

 

UNITED STATES OF AMERICA
Plaintiff - Appellee

V.

WAYNE EARL JENKINS

Defendant - Appellant

 

 
 

USCA4 Appeal: €2;444517-dP@oAeecceR Ddladneeiea@s1BiledAay/2M18 Page 2 of otal Pages:(4 of 4)

 

JUDGMENT

 

In accordance with the decision of this court, the judgments of the district
court are affirmed in part. The appeals are dismissed in part.

This judgment shall take effect upon issuance of this court's mandate in
accordance with Fed. R. App. P. 41.

- {si PATRICIA S. CONNOR, CLERK
 

USCA4 Appeal: 844451 7-dcP@ORIG-CCB Aibedubzért/4848 Fildty12/ebf18 Page 3 of 9

UNPUBLISHED

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 18-4415

UNITED STATES OF AMERICA,
Plaintiff - Appellee,
WAYNE EARL JENKINS,

Defendant - Appellant.

No. 18-4541

UNITED STATES OF AMERICA,
Plaintiff - Appellee,
v.
WAYNE EARL JENKINS,

Defendant - Appellant.

Appeals from the United States District Court for the District of Maryland, at Baltimore.
Catherine C. Blake, District Judge. (1:17-cr-00106-CCB-4; 1:17-cr-00638-CCB-1)

Submitted: December 18, 2018 Decided: December 20, 2018

 

 

 
 

USCA4 Appeal: Gadé61517-<0B06-CCB Filexbulraért/asue Filéty12/20818 Page 4 of 9

Before AGEE, THACKER, and HARRIS, Circuit Judges.
Dismissed in part, affirmed in part by unpublished per curiam opinion.

Steven H. Levin, LEVIN & CURLETT LLC, Baltimore, Maryland, for Appellant. Derek
Edward Hines, Leo Joseph Wise, OFFICE OF THE UNITED STATES ATTORNEY,
Baltimore, Maryland, for Appellee.

Unpublished opinions are not binding precedent in this circuit.

 
USCA4 Appeal: Ghd 1817-?ag0 B06-CCB Fibetubaa/4en8 Filéty13/20%18 Page 5 of 9

PER CURIAM:

In these consolidated appeals, Wayne Earl Jenkins appeals his convictions and 300-
month sentence imposed after pleading guiity, pursuant to a Fed, R. Crim, P. 11(c)(1)(C)
plea agreement, to racketeering conspiracy, in violation of 18 U.S.C. § 1962(d} (2012);

racketeering, in violation of 18 U.S.C. § 1962(c) (2012); two counts of Hobbs Act robbery,

 

in violation of 18 U.S.C. §§ 1951, 2 (2012); destruction, alteration, or falsification of
records in federal investigations, in violation of 18 U.S.C. § 1519 (2012); and four counts
of deprivation of rights under color of law, in violation of 18 U.S.C. §§ 242, 2 (2012).
Jenkins’ counsel has filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967),
certifying that there are no meritorious issues for appeal, but questioning whether Jenkins’
plea is knowing and voluntary and whether his sentence is reasonable. Jenkins was
informed of his right to file a pro se supplemental brief, but has not done so. The
Government has moved to dismiss Jenkins’ claim of sentencing error, invoking the
appellate waiver contained in Jenkins’ plea agreement. We grant the Government’s
motions to dismiss, dismiss the appeals in part, and affirm in part.

We review the validity of an appellate waiver de novo and “will enforce the waiver
if it is valid and the issue appealed is within the scope of the waiver.” United States v.
Adams, 814 F.3d 178, 182 (4th Cir. 2016). An appellate waiver must be knowing and
voluntary. Jd. We generally evaluate the validity of a waiver by reference to the totality
of the circumstances. United States v. Thornsbury, 670 F.3d 532, 537 (4th Cir. 2012). “In
the absence of extraordinary circumstances, a properly conducted [Fed. R. Crim. P.] 11

colloquy establishes the validity of the waiver.” Adams, 814 F.3d at 182.

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USCA4 Appeal: G4$41517-dP@ORI6-CCB Fibetubté?0/4648 Fildty19/e0%18 Page 6 of 9

Upon review of the plea agreement and the transcript of the Rule 11 hearing, we
conclude that Jenkins knowingly and voluntarily pleaded guilty and waived his right to
appeal his convictions and sentence, and that the sentencing issue Jenkins seeks to raise on
appeal falls squarely within the compass of his waiver of appellate rights. Accordingly,
we grant the Government’s motions to dismiss Jenkins’ appeals of his sentence.

Next, a guilty plea is valid if the defendant voluntarily, knowingly, and intelligently
pleads guilty “with sufficient awareness of the relevant circumstances and likely
consequences.” United States v. Fisher, 711 F.3d 460, 464 (4th Cir. 2013) (internal
quotation marks omitted). Before accepting a guilty plea, a district court must ensure that
the plea is knowing, voluntary, and supported by an independent factual basis. Fed. R.
Crim. P. 11(b); United States v. DeFusco, 949 F.2d 114, 116, 119-20 (4th Cir. 1991).

Because Jenkins neither raised an objection during the Rule 11 proceeding nor
moved to withdraw his guilty plea in the district court, we review his Rule 11 proceeding
for plain error. United States v. Sanya, 774 F.3d 812, 815 (4th Cir. 2014). To prevail under
the plain error standard, Jenkins “must demonstrate not only that the district court plainly
erred, but also that this error affected his substantial rights.” Jd. at 816. A defendant who
pleaded guilty establishes that an error affected his substantial rights by demonstrating a
reasonable probability that he would not have pleaded guilty but for the error. United
States v. Davila, 569 U.S. 597, 608 (2013).

We conclude that the district court did not plainly err in finding that Jenkins
knowingly and voluntarily entered his plea and that it was supported by an adequate factual

basis. Thus, we conclude that Jenkins’ plea was knowing and voluntary, Fisher, 711 F.3d

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USCA4 Appeal: targ4 451 7-0? O6R96-CCB FihetubtG/4848 Filéwibebs8 Page 7 of 9

at 464, and “final and binding,” United States v. Lambey, 974 F.2d 1389, 1394 (4th Cir.
1992) (en banc).

In accordance with Anders, we have reviewed the entire record in this case and have
identified no unwaived meritorious issues for appeal. We therefore affirm the remainder
of the judgments of the district court. This court requires that counsel inform Jenkins, in
writing, of the right to petition the Supreme Court of the United States for further review.
If Jenkins requests that a petition be filed, but counsel believes that such a petition would
be frivolous, then counsel may move in this court for leave to withdraw from
representation. Counsel’s motion must state that a copy thereof was served on Jenkins.

We dispense with oral argument because the facts and legal contentions are
adequately presented in the materials before this court and argument would not aid the

decisional process.

DISMISSED IN PART,
AFFIRMED IN PART

 
 

USCA4 Appeal: E4445 7-P@6A6Icce DdlAdneHeORP1 Filed @/AGf8 Page 8 of 9tal Pages:(1 of 4)

FILED: December 20, 2018

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 18-4415 (L), US v. Wayne Jenkins
1:17-cr-00638-CCB-1

 

NOTICE OF JUDGMENT

 

Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
advised of the following time periods:

PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for
certiorari must be filed in the United States Supreme Court within 90 days of this
court's entry of judgment. The time does not run from issuance of the mandate. Ifa
petition for panel or en banc rehearing is timely filed, the time runs from denial of
that petition. Review on writ of certiorari is not a matter of right, but of judicial
discretion, and will be granted only for compelling reasons.
(www.supremecourt.gov)

VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED

COUNSEL: Vouchers must be submitted within 60 days of entry of judgment or
denial of rehearing, whichever is later. If counsel files a petition for certiorari, the
60-day period runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is
being made from CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher
through the CJA eVoucher system. In cases not covered by the Criminal Justice
Act, counsel should submit the Assigned Counsel Voucher to the clerk's office for
payment from the Attorney Admission Fund. An Assigned Counsel Voucher will
be sent to counsel shortly after entry of judgment. Forms and instructions are also
available on the court's web site, www.ca4.uscourts.gov, or from the clerk's office.

BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
39, Loc. R. 39(b)).

 

 
 

USCA4 Appeal: Gage 1517-@di0RI6:CCB DoewmnenbéibiFiledrke/2Q@As Page 9 of tal Pages:(2 of 4)

PETITION FOR REHEARING AND PETITION FOR REHEARING EN
BANC: A petition for rehearing must be filed within 14 calendar days after entry of
judgment, except that in civil cases in which the United States or its officer or
agency is a party, the petition must be filed within 45 days after entry of judgment.
A petition for rehearing en banc must be filed within the same time limits and in the
same document as the petition for rehearing and must be clearly identified in the
title. The only grounds for an extension of time to file a petition for rehearing are
the death or serious illness of counsel or a family member (or of a party or family
member in pro se cases) or an extraordinary circumstance wholly beyond the
control of counsel or a party proceeding without counsel.

Each case number to which the petition applies must be listed on the petition and
included in the docket entry to identify the cases to which the petition applies. A
timely filed petition for rehearing or petition for rehearing en banc stays the
mandate and tolls the running of time for filing a petition for writ of certiorari. In
consolidated criminal appeals, the filing of a petition for rehearing does not stay the
mandate as to co-defendants not joining in the petition for rehearing. In
consolidated civil appeals arising from the same civil action, the court's mandate
will issue at the same time in all appeals.

A petition for rehearing must contain an introduction stating that, in counsel's
judgment, one or more of the following situations exist: (1) a material factual or
legal matter was overlooked; (2) a change in the law occurred after submission of
the case and was overlooked; (3) the opinion conflicts with a decision of the U.S.
Supreme Court, this court, or another court of appeals, and the conflict was not
addressed; or (4) the case involves one or more questions of exceptional
importance. A petition for rehearing, with or without a petition for rehearing en
banc, may not exceed 3900 words if prepared by computer and may not exceed 15
pages if handwritten or prepared on a typewriter. Copies are not required unless
requested by the court. (FRAP 35 & 40, Loc. R. 40(c)).

MANDATE: In original proceedings before this court, there is no mandate. Unless
the court shortens or extends the time, in all other cases, the mandate issues 7 days
after the expiration of the time for filing a petition for rehearing. A timely petition
for rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
days later. A motion to stay the mandate will ordinarily be denied, unless the
motion presents a substantial question or otherwise sets forth good or probable
cause for a stay. (FRAP 41, Loc. R. 41).

 

 

 
